                 No. 3:19-bk-00957     Doc 23     Filed 01/31/20       Entered 02/01/20 00:45:43          Page 1 of 5




                                             IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                                      MARTINSBURG DIVISION
                         In re:
                         EDWARD C WALLMAN
                                                                                      CHAPTER 7
                         TINA J. WALLMAN,
                                         DEBTORS.                                     CASE NO. 19-00957

                         SPECIALIZED LOAN SERVICING LLC,
                                     MOVANT,
                         vs.
                         EDWARD C WALLMAN
                         TINA J. WALLMAN,
                                         RESPONDENTS.
                                  AMENDED ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

                                  The Motion for Relief from the Automatic Stay filed by Specialized Loan Servicing
                         LLC Ė0RYDQWė having been properly served, with no responses having been filed with a
                         default order having been entered on December 9, 2019, with it being the desire of the
                         parties to amend the December 9, 2019 order and with all parties or their counsel having
                         endorsed this Amended Order and agreeing to its entry:
                                  That this Court has jurisdiction pursuant to 28 U.S.C. §1334 and §157 and 11 U.S.C.
                         §362 and this is a core matter. Further, the Secured Creditor is the current payee of a
                         promissory note dated the March 31, 2008, in the principal amount of $220,186.00, secured
                         by a Deed of Trust of the same date upon property generally described in the Security
                         Agreement as being situate in the County of Washington, Maryland, and having a mailing
                         address of 14080 Hollow Road, Hancock, MD 21750 Ė6HFXUHG3URSHUW\ė ,WLVWKHUHIRUH
                                  ORDERED that the automatic stay of 11 U.S.C. §362(a) is hereby terminated as to the
                         Debtors to permit the Movant and its successors and assigns to pursue its remedies as they
                         exist at state law, as it pertains to and as to any purchaser at a foreclosure sale conducted at




File No. 73482
No. 3:19-bk-00957    Doc 23        Filed 01/31/20            Entered 02/01/20 00:45:43                      Page 2 of 5

        the direction of the Movant under the provisions of the Deed of Trust dated March 31, 2008,
        including but not limited to pursuing loan modification or loss mitigation, regarding the real
        property located at 14080 Hollow Road, Hancock, MD 21750 and to pursue such remedies as
        it may have in its Deed of Trust whereby it obtained such lien.
               ORDERED that the automatic stay of 11 U.S.C. §362(a) is hereby terminated as to all
        parties to permit the Movant and its successors and assigns to enforce the lien of its Deed of
        Trust as it pertains to the real property located at 14080 Hollow Road, Hancock, MD 21750
        and more particularly described as follows:
                       The land referred to in this policy is situated in the State of MD, County of
                       Washington, City of Hancock and described as follows:

                       Parcel No. 1: All the following described real estate beginning in the center of
                       Hollow Road (formerly known as Sylvan Road) at the end of the seventh line
                       in the conveyance from Nettie L. Meyers to Beatrice Georgia Spade by deed
                       dated August 19, 1959, and recorded in Liber 350, folio 242, among the land
                       records of Washington County, Maryland, and reversing the direction of said
                       seventh line north 49° east 208.00 feet to the end of the sixth line of said
                       deed, thence with said sixth line reversed north 12° west 326.00 feet to a
                       post at the end of the fifth line of said deed, thence with a portion of the fifth
                       line north 64° 30 minutes west 89.0 feet, thence South 78° west 154.0 feet to
                       a point on the Eastern Marginal Line of a ten -foot easement conveyed to
                       Mickey R. Thompson and wife by deed dated August 6, 1966, and recorded in
                       liber 444, folio 507 among the land records of Washington County, and the
                       Eastern Marginal Line of said easement South 12° east 478.0 feet to the
                       center line of Hollow Road, and to a point in the eighth line North 61° 45
                       minutes east approximately 4.0 feet to the place of beginning; containing 2.0
                       acres, more or less.

                       Parcel No. 2: All the following described parcel of land being conveyed for
                       the purposes of enlargement of an existing lot and situate in election district
                       15, along the North Side of Hollow Road, approximately 1.3 miles North of
                       the intersection of Hollow Road with State of Route 615, in Washington
                       County, Maryland, and being more particularly described as follows:
                       Beginning at a concrete monument found, being a common corner with
                       lands of Arlie G. Spade (to with this tract or parcel is being added, L. 492, F.
                       437) and with lands of J. Austin McKee (L. 318, F. 582); thence with Spade's
                       original lot or parcel south 76° 17 minutes 02 seconds West 152.17 feet to a
                       metal post, found, said post being at the Northeast corner of a recorded
                       right-of-way (L. 444, F. 507) and being a common corner with Beatrice G.
                       Spade (L. 551, F. 730, the property from which this tract or parcel is being
                       conveyed; thence with new division lines through the land of Beatrice Spade
                       the following two courses and distances north 69° 18 minutes 10 seconds
                       West 294.24 feet to an iron pin with a yellow cap, set, thence North 07° 28
                       minutes 53 seconds West 168.05 feet to an iron pin with a yellow cap, set,
                       said iron pin intended to be on the line of J. Austin Mckee (L. 318, F. 582);
                       thence with McKee South 62° 12 minutes 26 seconds East 502.99 feet to the
                       point of beginning; containing a net area of 1.08 acres, more or less, as
                       surveyed by Dennis K. Golden, P.L.S. of Warfordsburg, Pennsylvania
                       (Maryland surveyor number 529) and as shown on a plat of that survey
                       entitled Simplified Plat of "Parcel A" to be conveyed to Arline G. Spade and
                       June 27, 1995 and being recorded as Washington County Plat No. 4698.

                       <redacted>
                       WITH THE APPURTENANCES THERETO.
                       <redacted>
No. 3:19-bk-00957       Doc 23       Filed 01/31/20          Entered 02/01/20 00:45:43                 Page 3 of 5

                 ORDERED that relief is granted to allow Specialized Loan Servicing LLC, its
        successors and/or assigns to proceed to hold a foreclosure sale on the subject property and
        to take any such action as may be necessary to obtain possession of said premises identified
        as 14080 Hollow Road, Hancock, MD 21750
                 It is further ORDERED that the fourteen (14) day stay is hereby waived and the terms
        of this Order are immediately enforceable.
        I ask for this:
        By: /s/ D. Carol Sasser
        W. Scott Campbell, Esquire, Bar No. 4232
        Fabio Crichigno, Esquire, Bar No. 10074
        Robert Kelly, Esquire, Bar No. 12917
        601 Morris Street, Suite 400
        Charleston, WV 25301
        Johnie R. Muncy, Esquire, Bar No. 12790
        1804 Staples Mill Road, Suite 200
        Richmond, VA 23230
        D. Carol Sasser, Esquire, Bar No. 12709
        596 Lynnhaven Parkway, Suite 200
        Virginia Beach, VA 23452

        Samuel I. White, P.C.
        Tel: (757) 490-9284
        Fax: (757) 497-2802(757) 490-8143
        dsasser@siwpc.com
        Counsel for Specialized Loan Servicing LLC

        Seen and Agreed:

        /s/ Michael Novotny (electronic signature affixed pursuant to email authorization of January 17, 2020)
        Michael J. Novotny
        Counsel for Debtors
        36 Bakerton Road Suite 205
        Harpers Ferry, WV 25425

        /s/ Aaron C. Amore (electronic signature affixed pursuant to email authorization of January 27, 2020)
        Aaron C. Amore
        Chapter 7 Trustee
        206 West Liberty Street
        Post Office Box 386
        Charles Town, WV 25414
        Case No. 19-00957
No. 3:19-bk-00957    Doc 23     Filed 01/31/20      Entered 02/01/20 00:45:43        Page 4 of 5

                                         CERTIFICATE OF SERVICE

               I hereby certify that this proposed Order has been endorsed by all necessary parties
        involved this proceeding.
                                                      By: /s/ D. Carol Sasser
                                                      D. Carol Sasser, Esquire
                                                      Samuel I. White, P.C.

        The Clerk shall mail a copy of the entered Order to the following:

        Aaron C. Amore
        Chapter 7 Trustee
        206 West Liberty Street
        Post Office Box 386
        Charles Town, WV 25414

        Michael J. Novotny
        Counsel for Debtors
        36 Bakerton Road Suite 205
        Harpers Ferry, WV 25425

        Edward C. Wallman and Tina J. Wallman
        Debtors
        128 Shepherds Rest Lane
        Harpers Ferry, WV 25425
         No. 3:19-bk-00957             Doc 23United
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                                                                      Virginia                                       Page 5 of 5
In re:                                                                                                     Case No. 19-00957-pmf
Edward C. Wallman                                                                                          Chapter 7
Tina J. Wallman
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0424-3                  User: ad                           Page 1 of 1                          Date Rcvd: Jan 29, 2020
                                      Form ID: pdfdoc                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 31, 2020.
db/jdb         +Edward C. Wallman,   Tina J. Wallman,   128 Shepherds Rest Lane,   Harpers Ferry, WV 25425-6911

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 31, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 29, 2020 at the address(es) listed below:
              Aaron C. Amore    amorewvt@gmail.com, aca@trustesolutions.net;jackiewvt@gmail.com;annwvt@gmail.com
              Aaron C. Amore    on behalf of Trustee Aaron C. Amore amorewvt@gmail.com,
               aca@trustesolutions.net;jackiewvt@gmail.com;annwvt@gmail.com
              Dorothy Carol Sasser    on behalf of Creditor    Specialized Loan Servicing LLC dsasser@siwpc.com,
               fcrichigno@siwpc.com;wcampbell@siwpc.com;rkelly@siwpc.com;jmuncy@siwpc.com;mfreeman@siwpc.com;bkr
               eferrals@siwpc.com;siwbkecf@siwpc.com;siwpc@ecf.courtdrive.com;siwattecf@siwpc.com
              Fabio Crichigno     on behalf of Creditor   Specialized Loan Servicing LLC fcrichigno@siwpc.com,
               wcampbell@siwpc.com;rkelly@siwpc.com;dsasser@siwpc.com;jmuncy@siwpc.com;mfreeman@siwpc.com;bkrefe
               rrals@siwpc.com;siwbkecf@siwpc.com;siwpc@ecf.courtdrive.com;siwattecf@siwpc.com
              Johnie Rush Muncy    on behalf of Creditor    Specialized Loan Servicing LLC jmuncy@siwpc.com,
               fcrichigno@siwpc.com;wcampbell@siwpc.com;rkelly@siwpc.com;dsasser@siwpc.com;mfreeman@siwpc.com;bk
               referrals@siwpc.com;siwbkecf@siwpc.com;siwpc@ecf.courtdrive.com;siwattecf@siwpc.com
              Michael J. Novotny    on behalf of Joint Debtor Tina J. Wallman novotnylawyer@gmail.com,
               trish.novotnylawyer@gmail.com
              Michael J. Novotny    on behalf of Debtor Edward C. Wallman novotnylawyer@gmail.com,
               trish.novotnylawyer@gmail.com
              Robert Charles Kelly    on behalf of Creditor    Specialized Loan Servicing LLC rkelly@siwpc.com,
               fcrichigno@siwpc.com;wcampbell@siwpc.com;dsasser@siwpc.com;jmuncy@siwpc.com;mfreeman@siwpc.com;bk
               referrals@siwpc.com;siwbkecf@siwpc.com;siwpc@ecf.courtdrive.com;siwattecf@siwpc.com
              United States Trustee    ustpregion04.ct.ecf@usdoj.gov
              W. Scott Campbell    on behalf of Creditor    Specialized Loan Servicing LLC wcampbell@siwpc.com,
               fcrichigno@siwpc.com;rkelly@siwpc.com;dsasser@siwpc.com;jmuncy@siwpc.com;mfreeman@siwpc.com;bkref
               errals@siwpc.com;siwbkecf@siwpc.com;siwpc@ecf.courtdrive.com;siwattecf@siwpc.com
                                                                                              TOTAL: 10
